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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                               OAKLAND DIVISION


 EPIC GAMES, INC.,                                Case No. 4:20-cv-05640-YGR-TSH

                  Plaintiff, Counter-defendant,

 APPLE INC.,                                  RESPONSES TO EPIC’S OBJECTIONS
                                              TO SPECIAL MASTER RULINGS ON
                  Defendant, Counterclaimant. APPLE INC.’S PRODUCTIONS OF RE-
                                              REVIEWED PRIVILEGED
                                              DOCUMENTS



The Honorable Thomas S. Hixson
San Francisco Courthouse
Courtroom E - 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Dear Magistrate Judge Hixson,

       Pursuant to section 4 of the Joint Stipulation and Order Approving Privilege Re-Review
Protocol (Dkt. 1092) (the “Protocol”), Apple respectfully submits the following Responses to
Epic’s Objections to certain of the Special Masters’ rulings on Apple’s productions of re-reviewed
and privileged documents, produced to Epic in redacted form on May 12, 2025. We are submitting
these documents for in-camera review contemporaneously with this filing.

        Apple’s responses relate only to documents Apple believes are not already covered by Your
Honor’s and Judge Gonzalez Rogers’ existing rulings on Apple’s privilege assertions in this post-
judgment discovery. As previously noted, see Dkt. 1109, Apple reserves all rights as to documents
affected by those rulings, including any post-judgment appellate rights.
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Entry No. 13704 (PRIV-APL-EG_00300070)

      Apple will produce PRIV-APL-EG_00300070 without redaction.




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Entry No. 13720 (PRIV-APL-EG_00300199)

        PRIV-APL-EG_00300199 is an email exchange between Jennifer Brown (in-house
counsel) and several non-lawyers regarding a draft slide deck to be presented in a discussion
regarding options for complying with the Injunction. The redactions on the second page in the
message from Ms. Brown—contrary to Epic’s contrary theory—cover express legal advice
regarding what kinds of design and technical requirements would be compliant with the Injunction.
That is legal advice squarely covered by the privilege. See Labbe v. Dometic Corp., 2023 WL
5672950, at *4 (E.D. Cal. Sept. 1, 2023); United States v. ChevronTexaco Corp., 241 F. Supp. 2d
1065, 1076 (N.D. Cal. 2002). The redacted statement in the (chronologically) final email is a
response by a non-lawyer to Ms. Brown’s suggestion, confirming that the non-lawyer had
implemented Ms. Brown’s advice, thus itself revealing the content of the legal advice.




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Entry No. 13724 (PRIV-APL-EG_00300236)

        PRIV-APL-EG_00300236 is another iteration of the email exchange at PRIV-APL-
EG_00300199. The legal advice from Jennifer Brown (in-house counsel) is redacted for the same
reason as set forth above. The additional redacted content in PRIV-APL-EG_00300236 is redacted
for the same reason as the statement from the non-lawyer in PRIV-APL-EG_00300199—it reveals
the substance of the legal advice provided by Ms. Brown regarding design options that would
comply with the Injunction.




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Entry No. 13725 (PRIV-APL-EG_00300238)

         PRIV-APL-EG_00300238 is an email among Jennifer Brown, Sean Cameron, Ling Lew,
Jason Cody (all in-house counsel), and various non-lawyers regarding planning for Injunction
compliance. The message from Ms. Brown is redacted as express legal advice regarding
confidentiality and privilege considerations. One statement from a non-lawyer is redacted because
it is directed expressly to Ms. Brown, Mr. Cameron, Ms. Lew, and Mr. Cody (and no one else)
seeking an update on legal questions posed at an earlier meeting. Both a statement providing legal
advice, see Labbe, 2023 WL 5672950, at *4; ChevronTexaco Corp., 241 F. Supp. 2d at 1076, and
a confidential request for legal advice, see In re Meta Healthcare Litig., 2024 WL 3381029, at *2
(N.D. Cal. July 10, 2024), are privileged.




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DATED: May 20, 2025                    WEIL, GOTSHAL & MANGES LLP
                                       By: /s/ Mark A. Perry
                                       Counsel for Defendant Apple Inc.




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